Case 1:22-cv-08969-PAE   Document 63-12   Filed 11/14/23   Page 1 of 3




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                         Case 1:22-cv-08969-PAE                               Document 63-12                        Filed 11/14/23                     Page 2 of 3


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